                            UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF NORTH CAROLINA
                                 SOUTHERN DIVISION

LAMARR ANDRE MCDOW,                                    )
                                                       )
                               Plaintiff,              )
                                                       )        JUDGMENT IN A
v.                                                     )        CIVIL CASE
                                                       )        CASE NO. 7:21-CV-17-D
FONTELLA MARIE HOLMES,                                 )
                                                       )
                               Defendant.              )


Decision by Court. This action came before this Court for ruling as follows.


IT IS ORDERED, ADJUDGED, AND DECREED that the court GRANTS defendant's
motion to dismiss [D.E. 11] and DISMISSES the complaint for lack of personal
jurisdiction, insufficient process, insufficient service of process, and failure to state a
claim upon which relief can be granted. The court DISMISSES the complaint without
prejudice. The court also DENIES plaintiff's motion to remand [D.E. 14] as meritless. The
court DENIES plaintiff's motions to amend the complaint [D.E. 15, 24] as futile. The
court GRANTS plaintiff's motion to submit the audio recording [D.E. 16]. The court
DENIES as moot defendant's motion to strike plaintiff's first motion to remand [D.E. 19].

This Judgment Filed and Entered on August 6, 2021, and Copies To:
Ira Braswell, IV                                                (via CM/ECF electronic notification)
Matthew Thomas Houston                                          (via CM/ECF electronic notification)
Zachary Scott Buckheit                                          (via CM/ECF electronic notification)
A. Lee Hogewood, III                                            (via CM/ECF electronic notification)



DATE:                                                  PETER A. MOORE, JR., CLERK
August 6, 2021                                         (By) /s/ Nicole Sellers
                                                                Deputy Clerk




            Case 7:21-cv-00017-D Document 37 Filed 08/06/21 Page 1 of 1
